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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRIC OF INDIANA
                                TERRE HAUTE DIVISION

In Re:                                        )
                                              )
KIMBERLY MICHELLE MCGUIRE                     )             Bankruptcy No. 19-80271-JJG-7A
STEVEN JOSEPH MCGUIRE                         )
              Debtor(s)                       )
                                              )

                        TRUSTEE’S NOTICE OF POSSIBLE ASSETS
                      AND NOTICE OF ABANDONMENT OF PROPERTY

        Lou Ann Marocco, Trustee, hereby notifies the Court that there are possible assets in this
case, administration of which may result in a dividend to creditors. The Clerk is requested to
issue a Notice of Last Day to File Claims pursuant to Federal Bankruptcy Rule 3002(c)(5).

         Notice is hereby given that all scheduled assets will be abandoned from the estate, except
for:

         5th Third account ending in 8697
         Federal & State Tax Refunds-2019
         Preferential payments/voidable transfers
         Employment bonus
         Oil/Gas well , CASH
         Possible cash on debtors' person date of filing.

                                                      Respectfully submitted,
Dated: August 27, 2019
                                                      /s/ Lou Ann Marocco
                                                      Lou Ann Marocco, Trustee
                                                      P.O. Box 1206
                                                      Greenwood, IN 46142
                                                      Phone: 317-631-0145
                                                      Email: trustee@maroccolawindy.com

                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing has been served upon the following either by
first class U.S. Mail, postage prepaid, or electronic court filing this 27th day of August, 2019:

U.S. Trustee, ustpregion10.in.ecf@usdoj.gov

Gary Brock, garyrbrock@gmail.com
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Kimberly Michelle Mcguire
Steven Joseph Mcguire
9227 E. Cox Rd.
Bicknell, IN 47512

                                          /s/ Lou Ann Marocco
                                           Lou Ann Marocco, Trustee
                                           P.O. Box 1206
                                           Greenwood, IN 46142
                                           Phone: 317-631-0145
                                           Email: trustee@maroccolawindy.com
